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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 1:18-cv-22922-MOORE/SIMONTON

  GERALDINE BUENAVENTURA,
  as Personal Representative of the
  Estate of BEN BUENAVENTURA,

         Plaintiff,
  vs.

  NCL (BAHAMAS) LTD.,
  D-I DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC

         Defendants.
                                         ___/

                  DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE
             IN OPPOSITION TO THE MOTION TO COMPEL ARBITRATION

         Defendant, NCL (BAHAMAS) LTD. (“Norwegian”), by and through undersigned

  counsel, replies to Plaintiff’s opposition to submitting this matter to arbitration:

                                          Argument in Reply

         Plaintiff contends that this matter cannot be arbitrated because the Philippines Overseas

  Employment Agency (“POEA”) already ruled as such. This is incorrect. [Exh. C]. The POEA’s

  order addressed Norwegian’s pre-Complaint request for clarification as to whether Plaintiff

  could file suit, given that a settlement was previously reached between Plaintiff and Norwegian.

  The POEA did not address the merits of the allegations set forth in the Amended Complaint.

  Clearly emphasizing this narrow question, the POEA summarized the issue before it as “akin to

  declaratory relief which has been defined as an action by any person interested in a … written

  instrument … and for a declaration of his rights and duties thereunder.”

         In Plaintiff’s response to Norwegian’s motion to compel arbitration, Plaintiff does not

  dispute that arbitration is applicable, but rather seeks to frame the POEA’s order in a manner that


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  suggests the POEA already refused to hear the matter. Specifically, Plaintiff attempts to convince

  this Court that the POEA announced that it does not have jurisdiction by stating that “the

  Plaintiff would have no remedy because the dispute itself ‘does not fall within the contemplation

  of a labor dispute’ under the Philippine Labor Code.” Plaintiff’s Response, citing Exh. C.

  Plaintiff neglects to acknowledge, however, that the POEA announced that “this Board finds that

  it has not jurisdiction over the instant complaint and thereby dismisses the same.” [Exh. C, pp. 7

  ¶2 (emphasis added)]. The POEA found that it did not have jurisdiction to rule on Norwegian’s

  request for declaratory relief, as that request – not the underlying merits of this case – did not

  qualify as a labor dispute. [Id. at pp. 8 ¶3). Again, a request to arbitrate over the facts at issue

  was not dismissed by the POEA, but rather the specific complaint filed by Norwegian seeking

  declaratory relief.

          Arbitration   agreements     are   favored    and     rigorously   enforced    by    courts.

  Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 226 (1987); Mitsubishi Motors

  Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 625 (1985). Any doubts concerning the

  scope of arbitration should be resolved in favor of arbitration. Moses H. Cone Mem’l Hosp. v.

  Mercury Constr. Corp., 460 U.S. 1 (1983).

          Simply put, the prerequisites for granting a motion to compel arbitration are present here.

  See Bautista v. Star Cruises, 396 F.3d 1289, 1294 (11th Cir. 2005). Plaintiff does not assert any

  affirmative defenses under the Convention against arbitration. See Lindo v. NCL (Bahamas),

  Ltd., 652 F.3d 1257, 1263 (11th Cir. 2011). Rather, Plaintiff solely relies upon an incorrect

  interpretation of the POEA’s order and a public policy argument. The latter fails because the

  POEA will arbitrate this matter now that a formal Complaint was filed, and further, public policy

  or unconscionability arguments are not valid affirmative defenses to prevent the enforcement of

  an arbitration agreement under the Convention. Id. at 1280.

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         The parties entered into valid and mandatory foreign arbitration agreement covering the

  claims Plaintiff brings here. Plaintiff relies upon an erroneous interpretation of the POEA’s order

  regarding Norwegian’s pre-Complaint request for declaratory relief. Per the POEA, it did not

  have the jurisdictional authority to rule on the specific relief requested. The requisite formal

  (Amended) Complaint has now been filed and all jurisdictional prerequisites under the

  Convention are satisfied for the POEA to arbitrate over the merits of the case. This case must be

  compelled to arbitration as the parties agreed.



                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2018, I electronically filed the foregoing document

  with the Clerk to the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record or pro se parties identified on the below Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.

                                                /s/ Adam Finkel
                                                ADAM FINKEL




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